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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS

JOANNA PEARSON,                                    §
                                                   §
        Plaintiff                                  §
                                                   §
vs.                                                            NO. 4:18-CV-00627-ALM
                                                   §
JPMORGAN CHASE BANK, N.A., ET                      §
AL.,                                               §
                                                   §
        Defendants.                                §
                                                   §
                                                   §

DEFENDANT FREEDOM MORTGAGE CORPORATION’S MOTION TO TRANSFER
          VENUE TO THE NORTHERN DISTRICT OF GEORGIA

        Pursuant to 28 U.S.C. § 1404, Defendant Freedom Mortgage Corporation (“Freedom”),

moves this Court for an Order transferring venue to the United States District Court for the

Northern District of Georgia at Atlanta. In support of its Motion to Transfer Venue to the

Northern District of Georgia, Freedom states as follows:

        1. This suit was filed in Eastern District Court of Texas pursuant to federal question

jurisdiction under 28 U.S.C. § 1391(b).

        2. Under 28 U.S.C. § 1404(a), “a district court may transfer any civil action to any

other district or division where it might have been brought or to any district or division to which

all parties have consented.”

        3. Under 28 U.S.C. § 1391(b)(2), a civil action may be brought in “a judicial district in

which a substantial part of the events or omissions giving rise to the claim occurred, or a

substantial part of property that is the subject of the action is situated.”



DEFENDANT FREEDOM MORTGAGE CORPORATION’S
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       4. This suit could have been filed in the United States District Court for the Northern

District of Georgia because Plaintiff resides in Jonesboro, Georgia, and the properties involved

in the Complaint are situated in Covington and Jonesboro, Georgia whereas the Complaint fails

to set forth any facts tending to show that the United States District Court for the Eastern District

of Texas has any relation to the underlying facts alleged or the properties at issue.

           WHEREFORE, Freedom respectively requests for entry of an Order transferring

venue to the United States District Court for the Northern District of Georgia at Atlanta, pursuant

to 28 U.S.C. § 1404(a) and (b).

Dated: September 27, 2018                     Respectfully submitted,

                                                      /s/ Mark A. Flores
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                                   CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on this, the 27th day of September, a true

and accurate copy of the foregoing was filed in the CM/ECF system of the Eastern District of

Texas resulting in electronic service on the following:


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        Counsel for Plaintiff Joanna Pearson

                                                   /s/ Mark A. Flores
                                             Mark A. Flores




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